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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                      CASE NO.: 20-10367-BKC-AJC
                                                                   PROCEEDING UNDER CHAPTER 13

IN RE:

ANTHONY D. BEASLEY
SHELIA S. BEASLEY

_____________________________/
DEBTORS

                                    NOTICE OF DELINQUENCY

   PLEASE TAKE NOTICE the above-referenced Debtors are delinquent in Confirmed Chapter 13 Plan
Payments in the amount of $7023.75.

   The Debtors shall have forty-five (45) days from the date of this Notice to make all payments due
under the Confirmed Plan/Modified Plan, INCLUDING ANY PAYMENTS THAT BECOME DUE
WITHIN THE FORTY-FIVE (45) DAY PERIOD, in the form of a money order or cashier's check only.
Payments must be sent to:

       NANCY K. NEIDICH, ESQUIRE
       STANDING CHAPTER 13 TRUSTEE
       P.O. BOX 2099
       MEMPHIS, TN 38101-2099

    If the Chapter 13 Trustee ("Trustee") does not receive all payments by September 10, 2022 to bring
the Debtors totally current under the Confirmed Plan/Modified Plan, or if applicable, a Motion to Modify
has not been timely filed and set within fifteen (15) days of this Notice pursuant to the Confirmation
Order, the Trustee may file and serve a Report of Non-Compliance.

    As a result of the Debtors failure to become current or timely file a Motion to Modify, the case shall
be dismissed without further notice or hearing.

    I HEREBY CERTIFY that a true and correct copy of this Notice of Delinquency was served, via U.S.
first class mail and/or CM/ECF, upon the parties listed on the attached service list this 27th day of July
2022.



                                                          /s/ Nancy K. Neidich
                                                         _____________________________________
                                                          NANCY K. NEIDICH, ESQUIRE
                                                          STANDING CHAPTER 13 TRUSTEE
                                                          P.O. BOX 279806
                                                          MIRAMAR, FL 33027-9806
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                                                                       2      OF DELINQUENCY
                                                                     CASE NO.: 20-10367-BKC-AJC

                                   SERVICE LIST

COPIES FURNISHED TO:

DEBTORS
ANTHONY D. BEASLEY
SHELIA S. BEASLEY
1391 NW 170TH TER
MIAMI GARDENS, FL 33169-5211

ATTORNEY FOR DEBTORS
JOSE BLANCO, ESQUIRE
102 E 49TH ST
HIALEAH, FL 33013
